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                                              UNITED STATES DISTRICT COURT
                                                DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                                               CRIMINAL NO. 3:17-CR-JIPiM

             vs .                                                      VIOLATIONS
                                                                       21 u.s.c. § 846
JASON CHEN                                                             (Conspiracy to Possess with Intent to
                                                                       Distribute and to Distribute Controlled
                                                                       Substances)

                                                                       21 U.S.C. § 843(a)(7)
                                                                       (Unlawful Importation of a Tableting
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                    L.fJ
                                                                       Machine)
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                             c·
                             :_.)    ; -~
                    ~        (a)      - ~                              18 U.S.C. §2
                             (__:;
                    E                                                  (Aiding and abetting)
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      LLJ
      -l            (0
      LL..
                c._")
                u.J
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                                      :•                 INFORMATION
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        The             ~'nited      States Attorney charges:

                                                          COUNT ONE
         (Conspiracy to Possess with Intent to Distribute and to Distribute Controlled Substances)

         1.                From in or about May 2016, to in or about June 2017, in the District of Connecticut

and elsewhere, the defendant JASON CHEN did, knowingly and intentionally, conspire, combine,

confederate, and agree with others known and unknown to the United States Attorney, to distribute

and to possess with intent to distribute (a) a mixture and substance containing a detectable amount

of anabolic steroids, a Schedule III controlled substance, in violation of Title 21, United States

Code, Section 841 (b)(1 )(E)(i); and (b) a mixture and substance containing a detectable amount of

alprazolam, a Schedule IV controlled substance, in violation of Title 21, United States Code,

Section 841 (b)(2).

        All in violation of Title 21, United States Code, Section 846.


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                                             COUNT TWO
                             (Unlawful Importation of a Tableting Machine)

        2.       In or about June 2017, the defendant JASON CHEN did, knowingly and

intentionally, import from China into the District of Connecticut a tableting machine, knowing,

intending, and having reasonable cause to believe that it would be used to manufacture alprazolam

pills, a Schedule IV controlled substance.

        In violation of Title 21, United States Code, Section 843( a)(7) and Title 18, United States

Code, Section 2.


                                   FORFEITURE ALLEGATION
                                     (Controlled Substance Offense)

        3.       Upon conviction of the controlled substance offense alleged in Count One of this

Information, the defendant JASON CHEN shall forfeit to the United States all right, title and

interest in any and all property constituting, or derived from, proceeds the defendant obtained

directly or indirectly as a result of the violation alleged in this Information, any and all property

used or intended to be used in any manner or part to commit and to facilitate the commission of

the said violation, and a sum of money equal to the total amount of proceeds obtained as a result

of the offense, including but not limited to the $8,900 in U.S. currency seized from his home on

June 7, 2017.

       4.        If any of the above-described forfeitable property, as a result of any act or omission

of the said defendant named in this Information: (a) cannot be located upon the exercise of due

diligence; (b) has been transferred or sold to, or disposed with, a third person; (c) has been placed

beyond the jurisdiction of the United States District Court for the District of Connecticut; (d) has

been substantially diminished in value; or (e) has been commingled with other property which


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cannot be subdivided without difficulty; it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), to seek forfeiture of any other property of the said defendant,

up to the value of the above-described forfeitable property.

       All in accordance with Title 21, United States Code, Section 853, and Rule 32.2(a), Federal

Rules of Criminal Procedure.


                                              UNITED STATES OF AMERICA




                                               /\NESSA RICHARDS
                                              ASSISTANT UNITED STATES ATTORNEY




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